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                     EXHIBIT 20
*
    PIT
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          From:                   McCoy, David HHD
                                                -




          Sent:                   Tuesday, November 28, 2017 11:21 AM CST
          To:
          cc:                     Macias, Naomi     -

                                                        HHD

          Subject:                Re: Charitable food service location



          Good morning, Ms. Navarrete,
          Although some city parks, including Peggys Point Plaza, were available in the past to hold
          charitable feeding events, this is no longer the case as City of Houston park usage was
          disallowed back in the Fall of 2016. I'm sure you will have additional questions or concerns so
          feel free to contact me directly via email or at 832-393-4953 regarding charitable feeding event
          information or guidelines.
          David A. McCoy, RS
          Chief Sanitarian, HHD
          From: Macias, Naomi HHD -




          Sent: Tuesday, November 28, 2017 10:59:42 AM
          To: McCoy, David HHD
                             -




          Subject: Fwd: Charitable food service location

          David
          Please respond and CC me.

          Sent from my iPhone

          Begin forwarded message:

                From: Marlene N ij
                Date: November 28, 2017 at 8:38:39 AM CST
                To: naomi.macias@houstontx.                   gov
                Subject: Charitable food service location

                Hello good morning,
                I am Marlene Navarrete. I am interested in feeding the homeless of our city on a Sunday in
                December. Our group from our community participated in this event in 2013 and 2014. In
                2014 it was held at Peggy's Point Plaza (4240 Main St Houston, 77002). One of our
                members obtained the Charitable Feeder Certificate (Liliana Guevara) and was given
                permission by the previous Chief Sanitarian Ms. Carolyn Gray to help our homeless of our
                great city at Peggy's Point Plaza. A Property Owner Agreement Form was given by the city
                and gave us permission so we may feed our homeless community at Peggy's Point Plaza. My
                community would be very appreciated if we may be given this location to feed the homeless
                of our city. To whom mayI contact in regards to have the approved property owner
                agreement at Peggy's Point Plaza?
                Thank your for taking my email into consideration and look forward in coming to terms for
                this great cause.
                Thank you,




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 Marlene Navarrete
 PII




                                                                                COH 004245
